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                         UNITED STATES BANKRUPTCY COURT
                                  District of Delaware
                              824 Market Street, 3rd Floor
                                 Wilmington, DE 19801

In Re:
Quiksilver, Inc.
5600 Argosy Circle                                  Chapter: 11
Huntington Beach, CA 92649
 EIN: 33−0199426



                                                    Case No.: 15−11880−BLS


        NOTICE OF FILING OF TRANSCRIPT AND OF DEADLINES RELATED TO RESTRICTION AND
                                         REDACTION

    A transcript of the proceeding held on 5/26/2016 was filed on 5/27/2016 . The following deadlines apply:

    The parties have 7 days to file with the court a Notice of Intent to Request Redaction of this transcript. The
deadline for filing a request for redaction is 6/17/2016 .

    If a request for redaction is filed, the redacted transcript is due 6/27/2016 .

     If no such notice is filed, the transcript may be made available for remote electronic access upon expiration of the
restriction period, which is 8/25/2016 unless extended by court order.

    To review the transcript for redaction purposes, you may purchase a copy from the transcriber (see docket for
Transcriber's information) or you may view the document at the clerk's office public terminal.




                                                                                David D. Bird, Clerk of Court

Date: 5/27/16




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